
Wbight, J.,
delivered the opinion of the Court.
This is an action of debt upon a hill single, for $767 00, and judgment being against the defendant below, he has brought the case to this Court by an appeal, in the nature of a writ of error. There appears to have been little, if any contest on the trial in the Circuit Court, though a motion for a new trial was made and overruled, and a bill of exceptions filed. The amount of the judgment was for $811 10J, which seems to have been too much, counting principal and interest, by $1 03. This is now assigned as error, and a reversal claimed upon it.
But we cannot reverse for these small excesses in judgments. They do not go to the merits, and may truly be said to escape under the maxim de minimis non curat lex. They are generally the result of clerical mistakes by the clerk or counsel, in the calculation of interest, and might readily be set right, if the attention of the Circuit Court were called to the matter at the proper titne. The act of 1852, ch. 162, §§ 4 and 5, abolishes all writs of error for matters of form, and provides, that after judgment rendered, any defects or imperfections in matters of form, found in the record of proceedings in the action, may be rectified and amended by the Court, in which the judgment is rendered, or the Court to which it shall be removed by writ of error or. appeal, if substantial justice requires it, and if the amendment is in affirmance of the judgment.
The practice of this Court prior to the passage of this act, as I am informed by one of my brother judges, has been, not to reverse for such trivial mis*671calculations. But now, under that act, certainly the matter is cured.
If need be, we may regard the correction as already made.
The judgment will be affirmed.
